                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

BRIAN BISHOP,

                       Plaintiff,

vs.                                      Case No.   2:12-cv-562-FtM-29DNF

LIPMAN   AND   LIPMAN,  INC.,   LFC
ENTERPRISES, INC., LFC AGRICULTURAL
SERVICES, INC., FARM OP, INC., LFC
MANAGEMENT SERVICES, INC., ROBERT
KENT SHOEMAKER, JR., LARRY LIPMAN,
TOBY PURSE, JAMIE WILLIAMS, MAX
JAIME WEISINGER, and HERNAN PARRA,

                    Defendant.
_____________________________________


                           OPINION AND ORDER

      This matter comes before the Court on Defendants’ Motion to

Dismiss Counts II, III, IV, and V of the Complaint (Doc. #18) filed

on November 9, 2012.      Plaintiff filed a response on November 21,

2012.   (Doc. #23.)    For the reasons set forth below, the motion is

granted.

                                    I.

      Under Federal Rule of Civil Procedure 8(a)(2), a Complaint

must contain a “short and plain statement of the claim showing that

the pleader is entitled to relief.”       Fed. R. Civ. P. 8(a)(2). This

obligation “requires more than labels and conclusions, and a

formulaic recitation of the elements of a cause of action will not

do.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)(citation

omitted).   To survive dismissal, the factual allegations must be
“plausible” and “must be enough to raise a right to relief above

the speculative level.”          Id. at 555.       See also Edwards v. Prime

Inc., 602 F.3d 1276, 1291 (11th Cir. 2010).                  This requires “more

than an unadorned, the-defendant-unlawfully-harmed-me accusation.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)(citations omitted).

       In deciding a Rule 12(b)(6) motion to dismiss, the Court must

accept all factual allegations in a complaint as true and take them

in the light most favorable to plaintiff, Erickson v. Pardus, 551

U.S. 89 (2007), but “[l]egal conclusions without adequate factual

support are entitled to no assumption of truth,”                          Mamani v.

Berzain, 654 F.3d 1148, 1153 (11th Cir. 2011)(citations omitted).

“Threadbare      recitals   of    the   elements    of   a    cause   of     action,

supported by mere conclusory statements, do not suffice.” Iqbal,

556 U.S. at 678.       “Factual allegations that are merely consistent

with    a     defendant’s   liability     fall   short       of   being    facially

plausible.”      Chaparro v. Carnival Corp., 693 F.3d 1333, 1337 (11th

Cir. 2012)(internal quotation marks and citations omitted).                    Thus,

the Court engages in a two-step approach: “When there are well-

pleaded factual allegations, a court should assume their veracity

and    then    determine    whether     they   plausibly      give    rise    to   an

entitlement to relief.”          Iqbal, 556 U.S. at 679.

                                        II.

       Plaintiff Brian Bishop (Bishop or plaintiff) initiated this

action against various interrelated companies including Lipman and


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Lipman, Inc., LFC Enterprises, Inc., Agricultural Services, Inc.,

Farm Op, Inc., and LFC Management Services Inc. (collectively,

Lipman) as well as individually named “high powered” employees of

Lipman, including Robert Kent Shoemaker Jr., Larry Lipman, Toby

Purse, Jamie Williams, Max Jaime Weisinger, and Hernan Parra

(collectively, defendants) on October 11, 2012.           The Complaint

alleges the following: Plaintiff was an employee of Lipman and

served as Chief Information Officer.     Lipman is the United States’

largest field tomato farmer and employs thousands of farm laborers

to grow and harvest the tomatoes.

      In order to form a crew of farming laborers during a growing

season, Lipman pays “crew leaders” to find farm laborers.             The

“crew leaders” are not Lipman employees, but are paid based on

their ability to provide a sufficient number of laborers.             The

laborers are hired by Lipman and provided housing by the company

near the farming facilities.

      In addition to its farming endeavors, Lipman also operates

packing houses.     In the packing houses, Lipman has implemented

technology that uses biometric scanners to ensure that the workers

at the packing houses are legal employees.        Although Lipman uses

this technology at its packing houses, it does not use this

technology for its farming operations.

      Throughout his employment with Lipman, plaintiff became aware

of   various   violations   of Section   274 of   the   Immigration   and


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Nationality Act (INA), codified at 8 U.S.C. § 1324(a).                     Plaintiff

alleges that Lipman submitted employee social security numbers to

the Federal Government on required employment paperwork that did

not match the names of the employees actually working for Lipman,

and utilized “coyotes”, described as “an individual who smuggles

illegal migrant workers into the United States from Mexico for

money” (doc. #1, ¶51), to supply the additional need for laborers

when there were labor shortages during a farming season.

       Bishop made several verbal suggestions to Lipman, recommending

that the biometric scanning system used in the packing houses be

utilized in the fields to help ensure that illegal immigrants were

not employed as field laborers.          Bishop was subsequently excluded

from company meetings.

       On February 2, 2012, Bishop sent an e-mail to Toby Purse

(Purse), the Chief Financial Officer/Chief Administrative Officer

of    Lipman,   and   Hernan   Parra   (Parra),          the   Director    of   Human

Resources.      The e-mail voiced Bishop’s concerns about Lipman’s

illegal work force and reiterated his verbal recommendations.                       Two

business days later, Bishop was called into a meeting with Parra

and    Purse    and   was   terminated.            Plaintiff        was   offered     a

“Confidential     Separation    Agreement          and   General     Release”    (the

Settlement      Agreement).     Under        the    terms      of   the   Settlement

Agreement, Bishop would be retained as a consultant for six (6)

months and provided with health insurance in exchange for keeping


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his   concerns   about    the    illegal    work    force     confidential   and

“refrain[ing]    from     all    conduct,    verbal      or    otherwise,    that

disparages or damages or could disparage or damage the reputation,

goodwill, or standing in the community of [Lipman] or any of the

Released Parties.”        (Doc. #1, ¶83.)          Bishop did not sign the

settlement agreement.

                                     III.

      Plaintiff initiated this action asserting claims under the

Florida Whistleblower Statute (Count I), civil conspiracy (Count

II), the federal Racketeer Influenced and Corrupt Organizations Act

(RICO)(Counts III and IV), and the Florida RICO statute (Count V).

Defendants seek to dismiss Counts II through V of the Complaint for

failure to state a claim pursuant to Fed. R. Civ. P. 12(b)(6).

A.    Count II

      Count II asserts a cause of action for civil conspiracy

against defendants Robert Kent Shoemaker, Toby Purse, Max Jaime

Weisinger, and Hernan Parra (collectively, the civil conspiracy

defendants).      Count     II    alleges    that     the     civil   conspiracy

defendants, along with other unknown co-conspirators, conspired to

terminate    plaintiff     in    retaliation       for   his    objections    to

defendants’ alleged INA violations.            The conspiracy defendants

assert that Count II fails under the intracorporate conspiracy

doctrine because each of the alleged co-conspirators is an employee

of the same company. Plaintiff responds that the doctrine does not


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apply because the “crew leaders” were part of the conspiracy and

are not employees of Lipman, the conspiracy claim implicates

unknown co-conspirators which may include persons not employed by

Lipman, and defendants are subject to criminal liability for their

conspiracy, which renders the intracorporate doctrine inapplicable.

       The Complaint alleges two different types of conspiracies.

Count II alleges a civil conspiracy under Florida law in which the

purpose of the conspiracy was to terminate plaintiff in retaliation

for his opposition to plaintiff’s alleged INA violations.            Count

IV, on the other hand, asserts a claim for a conspiracy to commit

RICO    predicate   acts   in   violation   of   18   U.S.C.   §   1962(d).

Defendants’ motion argues that the intracorporate doctrine bars

Count II, not Count IV.

       “A civil conspiracy requires: (a) an agreement between two or

more parties, (b) to do an unlawful act or to do a lawful act by

unlawful means, (c) the doing of some overt act in pursuance of the

conspiracy, and (d) damage to plaintiff as a result of the acts

done under the conspiracy.”      Charles v. Fla. Foreclosure Placement

Ctr., LLC, 988 So. 2d 1157, 1159–60 (Fla. 3d DCA 2008) (citations

omitted).

       Under   the  intracorporate   conspiracy  doctrine,   a
       corporation’s employees, acting as agents of the
       corporation, are deemed incapable of conspiring among
       themselves or with the corporation. This doctrine stems
       from basic agency principles that attribute the acts of
       agents of a corporation to the corporation, so that all
       of their acts are considered to be those of a single
       legal actor.

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Dickerson v. Alachua Cnty. Comm’n, 200 F.3d 761, 767 (11th Cir.

2000) (internal quotations and citations omitted).              This rule

applies unless an agent of the corporation “has a personal stake in

the   activities    that   are    separate   and     distinct    from   the

corporation’s interest.”         Cedar Hills Props. Corp. v. E. Fed.

Corp., 575 So. 2d 673, 676 (Fla. 1st DCA 1991).

      Plaintiff’s   arguments    regarding   the   applicability   of   the

intracorporate doctrine appear to relate to its applicability to

Count IV, as plaintiff focuses on the RICO predicate acts, their

potential for criminal liability, and the involvement of the crew

leaders in the alleged predicate acts. Count II, however, does not

allege a conspiracy to commit RICO violations, but instead asserts

a conspiracy to retaliate against plaintiff.

      There are no allegations relevant to Count II that link the

non-employee crew leaders to a conspiracy to retaliate against the

plaintiff.    Further, the enumerated retaliatory purpose of the

conspiracy alleged in Count II is not criminal.        Finally, there is

no case law that stands for the proposition that alleging “unknown

co-conspirators”    bars   the    application   of   the    intracorporate

doctrine.    The factual allegations pertaining to Count II can only

be fairly read to implicate Lipman employees, and there are no

plausible allegations which suggest that these employees had a

personal stake in the retaliation conspiracy.              See Cedar Hills




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Props. Corp., 575 So. 2d at 676.              As such, Count II is barred by

the intracorporate doctrine and will be dismissed.

B.   Count III

     Count III asserts a claim against all twelve (12) defendants

for violations of 18 U.S.C. § 1962(c), a provision of federal RICO.

The federal RICO laws provide civil and criminal liability for

persons engaged in a pattern of racketeering activity.                   See 18

U.S.C. §§ 1962-1964.        To state a claim for a RICO violation, a

plaintiff must allege: “(1) a violation of section 1962; (2) injury

to business or property; and (3) that the violation caused the

injury.”     Southeast Laborers Health and Welfare Fund v. Bayer

Corp., 444 Fed. App’x 401, 409 (11th Cir. 2011) quoting Avirgan v.

Hull, 932 F.2d 1572, 1577 (11th Cir. 1991).                With respect to the

first element, a violation of § 1962, a plaintiff must allege: (1)

conduct    (2)   of   an   enterprise     (3)    through   a   pattern   (4)   of

racketeering activity.”        Id. quoting Williams v. Mohawk Indus.,

Inc., 465 F.3d 1277, 1282 (11th Cir. 2006).

     Civil RICO plaintiffs “must also satisfy the requirements of

18 U.S.C. § 1964(c).”       Southeast Laborers, 444 Fed. App’x at 409,

quoting Williams, 465 F.3d at 1282.             Under this provision, “[a]ny

person injured in his business or property by reason of a violation

of section 1962 of this chapter may sue therefor.”                 18 U.S.C. §

1964(c)(emphasis added).       The Supreme Court set forth the standard

of establishing the “by reason of” element of section 1964(c) in


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Holmes v. Sec. Investor Protection Corp., 503 U.S. 258 (1992).

Therein, the Supreme Court held that a “plaintiff must demonstrate

that the defendant’s violation was not only the “but for” cause of

the plaintiff’s injury but also its proximate cause.”                    Southeast

Laborers, 444 Fed. App’x at 409, citing Holmes, 503 U.S. at 268.

       The        defendants    assert    that    plaintiff     cannot   meet    the

requirements of Section 1964(c), and therefore cannot establish the

causation element of his RICO claim.                  Neither party makes any

argument regarding whether the plaintiff has adequately pled that

the alleged RICO violations were the “but for” cause of his injury.

Instead, both parties focus their arguments on whether the alleged

RICO violations were the “proximate cause” of plaintiff’s alleged

injury.1

       The Supreme Court has said that, “[p]roximate cause for RICO

purposes . . . should be evaluated in light of its common-law

foundations; proximate cause thus requires some direct relation

between the injury asserted and the injurious conduct alleged.                     A

link       that    is   too   remote,    purely   contingent,    or   indirect   is

insufficient.”          Hemi Grp. LLC v. City of New York, New York, 559

U.S. 1 (2010) quoting Holmes, 503 U.S. at 1311 (internal quotations

and alterations omitted).



       1
      Because the Court finds that plaintiff has failed to
sufficiently allege that his injury was proximately caused by any
alleged RICO predicate act, the Court need not address whether the
plaintiff has otherwise established “but for” causation.
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      Plaintiff has asserted that the defendants committed the

following     RICO    predicate    acts:      (1)   violating     8    U.S.C.      §

1324(a)(3)(A) by hiring at least ten individuals with actual

knowledge that the individuals are aliens; (2) violating 8 U.S.C.

§ 1324(a)(1)(A)(iv) by encouraging or inducing an alien to come to,

enter, or reside in the United States either knowing or in reckless

disregard that this is in violation of law; (3) violating 8 U.S.C.

§ 1324(a)(I)(A)(iii) by concealing, harboring, or shielding from

detection, or attempting to conceal, harbor, or shield aliens from

detection; (4) violating 8 U.S.C. § 1324(a)(1)(A)(v) by engaging in

a conspiracy to commit or aid and abet any INA violation; (4)

violating 18 U.S.C. § 1546(a) by accepting identification documents

and other employment documents that they knew, or should have

known, were not lawfully issued, were false, and or were obtained

by   false   statements;     and   (5)   18   U.S.C.   §   1546(b)      by     using

identification documents that defendants knew were false or not

lawfully issued in order to falsely verify the eligibility of its

employees and recording information from these false and fraudulent

documents on I-9 forms.

      Defendants assert that plaintiff has not pled, and cannot

otherwise establish, that any of these five (5) alleged predicate

acts were the proximate cause of his termination.                       Plaintiff

responds     that    the   third   alleged     predicate   act,       namely    the

defendants alleged concealment of aliens from detection, was the


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proximate cause of his injury.               In particular, plaintiff asserts

that   the    defendant’s      settlement         offer   during    his   termination

meeting was itself a violation of 8 U.S.C. § 1324(a)(I)(A)(iii)

because the Settlement Offer was an attempt to conceal illegal

aliens from detection because it required plaintiff to keep his

knowledge of the INA violations confidential.                       The Court is not

persuaded by plaintiff’s argument.

       There is nothing in the Complaint which suggests that the

offer of the Settlement Agreement, or plaintiff’s refusal to accept

it, resulted in Bishop’s termination.                   Plaintiff does not allege

that had he accepted the Settlement Agreement, he would have

retained his position with Lipman.                Instead, regardless of whether

or not plaintiff accepted the Settlement Agreement, he would have

been   terminated       from   Lipman.           The   Settlement    Agreement   only

provided an opportunity         for the plaintiff to work as a consultant

to   Lipman   for   a    period   of       six    months.     Because     plaintiff’s

termination from Lipman was not dependent on his failure to sign

the Settlement Agreement, this alleged violation of 8 U.S.C. §

1324(a)(I)(A)(ii)        was   not     a    proximate       cause    of   plaintiff’s

termination.

       Plaintiff does not assert that any of the other alleged

predicate acts were the proximate cause of his injury, and the

Court agrees.       The Complaint does not allege that the hiring of

illegal workers in violation of 8 U.S.C. § 1324(a)(3)(A), the


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encouragement and inducement of illegal workers in violation of 8

U.S.C. § 1324(a)(1)(A)(iv), the conspiracy in violation of 8 U.S.C.

§ 1324(a)(1)(A)(v), or that the 18 U.S.C. §§ 1546(a) and (b)

documentary violations had any effect on the terms or conditions of

plaintiff’s employment or otherwise proximately caused plaintiff’s

injury. Instead, the allegations of the Complaint demonstrate that

it was plaintiff’s objections to these alleged violations that

resulted in his termination from Lipman, not the INA violations

themselves.      The motion to dismiss Count III is granted.

C.    Count IV

      Count IV of the Complaint asserts a cause of action against

all defendants pursuant to another provision of RICO, 18 U.S.C. §

1962(d).    This provision makes it “unlawful for any person to

conspire to violate” RICO’s criminal prohibitions.               18 U.S.C. §

1962(d).    “The       touchstone   of    liability   is   an   agreement    to

participate in a RICO conspiracy, which may be shown in two ways:

(1)   showing     an    agreement   on     the   overall   objective   of   the

conspiracy, or (2) showing that a defendant agreed to commit

personally two predicate acts, thereby agreeing to participate in

a ‘single objective.’” U.S. v. Browne, 505 F.3d 1229, 1264 (11th

Cir. 2007) (quoting U.S. v. Abbell, 271 F.3d 1286, 1299 (11th Cir.

2001)).    Additionally:

      If the [plaintiff] can prove an agreement on an overall
      objective, it need not prove a defendant personally
      agreed to commit two predicate acts. . . . In the absence
      of direct evidence of an agreement on an overall

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     objective, the [plaintiff] may prove such an agreement
     through inferences from the conduct of the alleged
     participants or from circumstantial evidence of a
     scheme,. . . amounting to evidence that each defendant
     necessarily must have known that the others were also
     conspiring to participate in the same enterprise through
     a pattern of racketeering.


Browne, 505 F.3d at 1264 (internal quotation marks and citation

omitted).

     Defendants assert that because Count III fails, Count IV

should also be dismissed.     In addition, defendants assert that

Count IV provides nothing more than a formulaic recitation of the

elements and contains no factual allegations that support the

claim.   Plaintiff   disagrees,   and    alleges   that   the   Settlement

Agreement was an overt act in furtherance of a conspiracy to

violate 8 U.S.C. § 1324(a)(I)(A)(v).

     Although several circuits have found that if a plaintiff fails

to state a claim of a primary RICO violation, the plaintiff’s civil

RICO conspiracy claim necessarily fails, see GE Invest. Private

Placement Partners II v. Parker, 247 F.3d 543, 551 n. 2 (4th Cir.

2001); Efron v. Embassy Suites, P.R., Inc., 223 F.3d 12, 21 (1st

Cir. 2000); Discon, Inc. v. NYNEX Corp., 93 F.3d 1055, 1064 (2d

Cir. 1996), vacated on other grounds, 525 U.S. 128, 119 S.Ct. 493,

142 L.Ed.2d 510 (1998); Lightning Lube, Inc. v. Witco Corp., 4 F.3d

1153, 1191 (3rd Cir. 1993); Religious Tech. Ctr. v. Wollersheim,

971 F.2d 364, 367 n. 8 (9th Cir. 1992); Danielsen v. Burnside–Ott

Aviation Training Ctr., Inc., 941 F.2d 1220, 1232 (D.C. Cir. 1991);

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Craighead v. E.F. Hutton & Co., 899 F.2d 485, 495 (6th Cir. 1990);

In re Edwards, 872 F.2d 347, 352 (10th Cir. 1989), neither the

Eleventh Circuit nor the Supreme Court have addressed the issue.

(See Am. Dental Ass’n v. Cigna Corp.,                  605 F.3d 1283, 1296 n.6

(11th Cir. 2010)(noting that the 11th Circuit has not addressed the

issue, and declining to address it because the conspiracy count

failed under Twombly and Iqbal’s plausibility standard)).

     The    Court     need   not    resolve     whether   failure       to   state    a

substantive RICO claim in Count III necessarily results in the

dismissal of Count IV.         Plaintiff’s allegations with respect to

Count IV are nothing more than a formulaic recitation of the

elements    of    a   RICO   conspiracy        claim    and    lack    any   factual

allegations in support.            Most notably, plaintiff fails to plead

facts    that    demonstrate       an   agreement      among   the     twelve   (12)

defendants.       Instead,     plaintiff       provides   only    the    conclusory

allegation that “[t]he RICO Defendants, through an agreement to

commit   two     or   more   predicate    acts,     conspired     to    conduct      or

participate in the conduct of an enterprise, Lipman, through a

pattern of racketeering activity in violation of 18 U.S.C. §

1926(d).”   (Doc. #1, ¶142.)         Nothing within Count IV itself, or any

of the facts incorporated by reference (see id. at ¶141) provide a

single factual allegation that support this assertion.                   The motion

to dismiss Count IV is granted.




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D.   Count V

     Count     V   asserts   a   RICO   violation   under   Fla.   Stat.   §

772.103(3).        The Florida RICO statute is patterned after the

Federal RICO statute and Florida RICO cases follow Federal RICO

cases.    Therefore, the analysis of Federal RICO claims is equally

applicable to the Florida RICO claims. Ferrell v. Drubin, 311 Fed.

App’x 253, n. 5 (11th Cir. 2009) citing Jackson v. BellSouth

Telecomm., 372 F.3d 1250, 1263-64 (11th Cir. 2004).           Because the

Court has found that both of plaintiff’s Federal RICO claims fail,

the motion to dismiss Count V is granted.

E.   Count I

     Defendants make no argument with respect to Count I, which

asserts a claim under the Florida Whistleblower’s Statute. Because

the Court has dismissed all of plaintiff’s Federal claims, the

parties are not diverse, the remaining issues solely involve

matters of state law, and the case is in its early stages, the

Court declines to exercise its supplemental jurisdiction pursuant

to 28 U.S.C. § 1367(c)(3).        Accordingly, Count I is dismissed.

     Accordingly, it is now

     ORDERED:

     1.   Defendants’ Motion to Dismiss Counts II, III, IV, and V of

the Complaint (Doc. #18) is GRANTED and Counts II, III, IV, and V

of the Complaint are DISMISSED without prejudice.




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     2.   The Court declines to exercise supplemental jurisdiction

pursuant to 28 U.S.C. § 1367(c)(3), and therefore Count I is also

DISMISSED without prejudice.

     3.   The Clerk shall enter judgment accordingly, terminate any

pending deadlines and motions, and close the file.

     DONE AND ORDERED at Fort Myers, Florida, this    21st   day of

May, 2013.




Copies:

Counsel of record




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